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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION AT LAFAYETTE

MARY DOE and NANCY ROE,                      )
    Plaintiffs,                              )
                                             )
                v.                           )       CAUSE NO.: 4:18-CV-89-JEM
                                             )
PURDUE UNIVERSITY, et al.,                   )
    Defendants.                              )


                                 ORDER FOR JURY MEALS

       The Court hereby ORDERS that the Jury in this case be committed to the custody of a

Bailiff, duly sworn, and furnished meals for each day of trial (including deliberation) as directed

by the Court.

       The Court further ORDERS that the Clerk of Court for the Northern District of Indiana be

authorized to make payment for all food provided for the Jury and Bailiff out of the appropriation

provided therefor at the expense of the United States of America.

       SO ORDERED this 19th day of September, 2022.

                                             s/ John E. Martin______________________
                                             MAGISTRATE JUDGE JOHN E. MARTIN
                                             UNITED STATES DISTRICT COURT
